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                        UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA

10 ARLAND KELLEY                             CASE NO:
11                                           8:17−cv−01259−JVS−JCG
            Plaintiff(s),
12         v.                                INITIAL ORDER FOLLOWING
13 HCR MANORCARE, INC., et al.               FILING OF COMPLAINT
                                             ASSIGNED TO JUDGE SELNA
14
15               Defendant(s).
16
17
18
       Important Notice: The Court posts tentative law and motions rulings
19     to the internet. Please see Section P, below
20
21    COUNSEL FOR PLAINTIFF SHALL SERVE THIS ORDER ON ALL

22    DEFENDANTS AND/OR THEIR COUNSEL ALONG WITH THE SUMMONS
23
     AND COMPLAINT, OR IF THAT IS NOT PRACTICABLE AS SOON AS
24   POSSIBLE THEREAFTER. IF THIS CASE WAS ASSIGNED TO THIS
25   COURT AFTER BEING REMOVED FROM STATE COURT, THE
26   DEFENDANT WHO REMOVED THE CASE SHALL SERVE THIS ORDER
27   ON ALL OTHER PARTIES.
28   ///

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1
           This case has been assigned to the calendar of Judge James V. Selna.
2
      The intent of this Order is to ensure that this case will proceed so as "to secure [a]
3     just, speedy and inexpensive determination." (Fed.R.Civ. P., Rule 1.)
4
5          A. THE COURT'S ORDERS
6
7              Copies of Judge Selna’s orders that may have specific application to

8     this case are available on the Central District of California website. See ¶ N.
9
      Those orders include the following:
10
11             (1)   Order Setting Rule 26(f) Scheduling Conference
12             (2)   Order re Civil Jury Trials
13             (3)   Order re Civil Court Trials
14             (3)   Order re RICO Case Statement
15
16         B. SERVICE OF PLEADINGS
17
18             Although Fed.R.Civ.P., Rule 4(m) does not require the summons and
19    complaint to be served for as much as 120 days, the Court expects that the initial
20    pleadings will be served much sooner than that, and will require plaintiff to show
21    cause before then if it appears that there is undue delay.
22
23         C. ASSIGNMENT TO A MAGISTRATE JUDGE
24
25             Under 28 U.S.C. § 636, the parties may consent to have a Magistrate
26    Judge preside over all proceedings, including trial. The Magistrate Judges who
27    accept those designations are identified on the Central District’s website, which
28    also contains the consent form. See ¶ N.

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            D. EX PARTE PRACTICE
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3           Ex parte applications are solely for extraordinary relief and should
4     be used with discretion. See Mission Power Engineering Company v.

5     Continental Casualty Co., 883 F. Supp. 488 (C. D. Cal. 1995). The Court will
6     generally decide ex parte matters on the papers. Opposition to an ex parte
7     application, if any, should be submitted within 24 hours.
8
9           E. APPLICATIONS AND STIPULATIONS FOR EXTENSIONS

10              OF TIME

11
12              No stipulations extending scheduling requirements or modifying

13    applicable rules are effective until and unless the Court approves them. Both
14    applications and stipulations must set forth:

15
16              1.   The existing due date or hearing date;
17
18              2. Specific, concrete reasons supporting good cause for granting
19    the extension. In this regard, a statement that an extension "will promote
20    settlement" is insufficient. The requesting party or parties must indicate the
21    status of ongoing negotiations: Have written proposals been exchanged? Is
22    counsel in the process of reviewing a draft settlement agreement? Has a mediator
23    been selected?
24
25              3. Whether there have been prior requests for extensions, and
26    whether these were granted or denied by the Court.
27    ///
28    ///

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            F.   TROs AND INJUNCTIONS
2
3           Parties seeking emergency or provisional relief shall comply with
4     F.R.Civ.P., Rule 65 and Local Rule 65. The Court will not rule on any
5     application for such relief for at least 24 hours after the party subject to the
6     requested order has been served; such party may file opposing or responding
7     papers in the interim.
8
9           G. CASES REMOVED FROM STATE COURT
10
11          All documents filed in state court, including documents appended to
12    the complaint, answers and motions, must be refiled in this Court as a supplement
13    to the Notice of Renewal, if not already included. See 28 U.S.C. § 1447(a),(b). If
14    the defendant has not yet answered or moved, the answer or responsive pleading
15    filed in this Court must comply with the Federal Rules of Civil Procedure and the
16    Local Rules of the Central District. If before the case was removed a motion was
17    pending in state court, it must be re−noticed in accordance with Local Rule 7.
18
19          H. STATUS OF FICTITIOUSLY NAMED DEFENDANTS
20
21
            This Court intends to adhere to the following procedures where a matter
22    is removed to this Court on diversity grounds with fictitiously named defendants.
23    (See 28 U.S.C. §§ 1441(a) and 1447.)
24
25               1. Plaintiff is normally expected to ascertain the identity of and
26
      serve any fictitiously named defendants within 120 days of the removal of the action
27    to this Court.
28    ///

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                2. If plaintiff believes (by reason of the necessity for discovery or
2
      otherwise) that fictitiously named defendants cannot be fully identified within the
3     120−day period, an ex parte application requesting permission to extend that period
4     to effectuate service may be filed with this Court. Such application shall state the
5     reasons therefor, and may be granted upon a showing of good cause. The ex parte
6
      application shall be served upon all appearing parties, and shall state that appearing
7     parties may comment within seven (7) days of the filing of the ex parte application.
8
9               3. If plaintiff desires to substitute a named defendant for one of the
10
      fictitiously named parties, plaintiff first shall seek to obtain consent from counsel
11
      for the previously−identified defendants (and counsel for the fictitiously named
12    party, if that party has separate counsel). If consent is withheld or denied, plaintiff
13
      may apply ex parte requesting such amendment, with notice to all appearing
14    parties. Each party shall have seven calendar days to respond. The ex parte
15    application and any response should comment not only on the substitution of the
16    named party for a fictitiously named defendant, but on the question of whether the
17    matter should thereafter be remanded to the Superior Court if diversity of
18    citizenship is destroyed by the addition of the new substituted party. See U.S.C. §
19    1447(c), (d).
20
21
            I. BANKRUPTCY APPEALS
22
23          Counsel shall comply with the ORDER RE PROCEDURE TO BE
24    FOLLOWED IN APPEAL FROM BANKRUPTCY COURT issued at the time the
25    appeal is filed in the District Court.
26    ///
27    ///
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            J. MOTIONS UNDER FED.R.CIV.P. RULE 12
2
3           Many motions to dismiss or to strike could be avoided if the parties
4     confer in good faith (as they are required to do under L.R. 7−3), especially for
5     perceived defects in a complaint, answer or counterclaim which could be corrected
6     by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a
7     motion to dismiss is granted, a district court should provide leave to amend unless
8     it is clear that the complaint could not be saved by any amendment). Moreover, a
9     party has the right to amend his complaint "once as a matter of course at any time
10    before a responsive pleading is served." Fed.R.Civ.P., Rule 15(a). A 12(b)(6)
11    motion is not a responsive pleading and therefore plaintiff might have a right to
12    amend. See Nolen v. Fitzharris, 450 F.2d 958, 958−59 (9th Cir. 1971); St.

13    Michael’s Convalescent Hospital v. California, 643 F.2d 1369, 1374 (9th Cir.
14    1981). And even where a party has amended his Complaint once or a responsive
15    pleading has been served, the Federal Rules provide that leave to amend should be
16    "freely given when justice so requires." F.R.Civ.P., Rule 15(a). The Ninth Circuit
17    requires that this policy favoring amendment be applied with "extreme liberality."
18    Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
19
20          These principles require that counsel for the plaintiff should carefully
21    evaluate the defendant’s contentions as to the deficiencies in the complaint, and
22    that in many instances the moving party should agree to any amendment that would
23    cure a curable defect.

24
25          The moving party shall attach a copy of the challenged pleading to the
26    Memorandum of Points and Authorities in support of the motion.
27    ///
28    ///

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           The foregoing provisions apply as well to motions to dismiss a
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      counterclaim, answer or affirmative defense, which a plaintiff might contemplate
3     bringing.
4
5          K. REQUIREMENTS FOR BRIEFS
6
7          In addition to the requirements in Local Rule 11, the Court requires
8     the following for all briefs:
9
10                1. No footnote shall exceed 5 lines. The Court strongly discourages
11    the use of extensive footnotes as a subterfuge to avoid page limitations in the Local
12    Rules.
13
14                2. All footnotes shall be in the same type size as text. See Local Rule
15    11−3.1.1.
16
17                3. Each case cited shall include a jump cite to the page or pages where
18    the relevant authority appears (e.g., United States v. Doe, 500 U. S. 1, 14, 17
19    (1997)).
20
21    Failure to follow these requirements may result in rejection of a brief for
22    correction.
23
24         L. LEAD COUNSEL
25
26         Lead counsel shall appear on all dispositive motions, scheduling
27    conferences, and settlement conferences. The Court does not entertain special
28    appearances; only counsel of record may appear.

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           M.   COURTESY COPIES
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3          A courtesy copy of all electronically filed pleadings shall be delivered
4
      to Judge Selna’s courtesy copy drop on the tenth floor at the rear of the elevator
5     lobby by noon the day following filing. Failure to make timely delivery of the
6     courtesy copies may result in a delay in hearing a motion or ordering the
7     matter off calendar.
8
9          N. ELECTRONIC COPIES
10
11        When the Court requires an electronic copy of a document (e.g., with
12    proposed jury instructions), a copy shall be submitted at time of filing in one of the
13    following manners: providing a copy on a disk, CD, or thumb drive in a labeled
14    envelope and lodged with the clerk; or by e−mailing a copy to the Courtroom
15    Deputy (JVS_Chambers@cacd.uscourts.gov). Regardless of media, the document
16    should be formatted in WordPerfect9 or higher.
17
18         O. WEBSITE
19
20         Copies of this Order and other orders of this Court are available on the
21    Central District of California’s website, at "www.cacd.uscourts.gov" at Judge
22    Selna’s home page located under "Judge’s Procedures and Schedules."
23
24         P.   TENTATIVES−DAY OF HEARING AND WEB POSTING
25
26         The Court attempts to issue tentative rulings on each motion. Tentatives
27    will be posted on the Court’s website: www.cacd.uscourts.gov/. From the home

28    page, click on “Judges’ Procedures and Schedules” in the left column. From the

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      list click on "Hon. James V. Selna," which will take you to Judge Selna’s page.
2     Click on the red notice in the upper left: "Click here to view Tentative Rulings."
3     Then click on the desired ruling which comes up in a .pdf file which can be read
4     with an Adobe Acrobat reader. Judge Selna attempts to post tentatives by late
5     Friday afternoon preceding the hearing date. Hard copies of tentatives will also
6     be available from the clerk approximately 15 minutes before the hearing.
7
8          The Court thanks counsel and the parties for their anticipated
9     cooperation.
10
11       IT IS SO ORDERED.
12
13 DATED: August 1, 2017
14                                      James V. Selna
                                        United States District Judge
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